        Case 17-13275-elf            Doc 40      Filed 02/02/19 Entered 02/03/19 00:56:24                          Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 17-13275-elf
Kristin M. Ellet                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: Randi                        Page 1 of 1                          Date Rcvd: Jan 31, 2019
                                      Form ID: 212                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 02, 2019.
db             +Kristin M. Ellet,   42 Violet Lane,   Newtown, PA 18940-1746

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 02, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 31, 2019 at the address(es) listed below:
              BRAD J. SADEK   on behalf of Debtor Kristin M. Ellet brad@sadeklaw.com, bradsadek@gmail.com
              MATTEO SAMUEL WEINER    on behalf of Creditor    Wilmington Savings Fund Society, FSB, as trustee
               of Stanwich Mortgage Loan Trust C bkgroup@kmllawgroup.com
              REBECCA ANN SOLARZ    on behalf of Creditor    Wilmington Savings Fund Society, FSB, as trustee of
               Stanwich Mortgage Loan Trust C bkgroup@kmllawgroup.com
              THOMAS YOUNG.HAE SONG    on behalf of Creditor    Wells Fargo Bank, NA paeb@fedphe.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.    ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                              TOTAL: 6
  Case 17-13275-elf           Doc 40    Filed 02/02/19 Entered 02/03/19 00:56:24                     Desc Imaged
                                       Certificate of Notice Page 2 of 2




                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re:                                                                               Chapter: 13
          Kristin M. Ellet
Debtor(s)                                                                            Case No: 17−13275−elf
_____________________________________________________________________________________________
                                                        ORDER

            AND NOW, 1/31/19 , it appearing that the debtor must file either a statement regarding

completion of a course in personal financial management, see 11 U.S.C. § 1328(g)(1), or a request for

a waiver from this requirement, see 11 U.S.C. § 109(h)(4),

             Additionally, it appearing that the debtor must file a certification regarding domestic support

obligations and Section 522(q), see 11 U.S.C. §1328(a),

             And the statement regarding personal financial management and the domestic support

obligation certification were due no later than the last payment made by the debtor as required

by the plan or the filing of a motion for entry of a discharge under § 1328(b), see Bankruptcy Rule 1007(c),

             Accordingly, it is hereby ORDERED that the debtor shall have 14 (fourteen) days from the date

of this order to file

                      A statement regarding completion of an instructional course concerning
                  personal financial management, (Official Form B423) or a request for a waiver
                  from such requirement.

                      A certification regarding domestic support obligations and Section 522(q),
                  (Director's Form B2830);

            If the debtor fails to do so, then this case may be closed, without further notice or hearing, and without
the debtor receiving his/her chapter 13 discharge.




                                                                                For The Court
                                                                                Eric L. Frank
                                                                                Judge ,United States Bankruptcy
                                                                                Court



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                                                                                                                  Form 212
